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                    IN THE UNITED STATES DISTRICT COURT FOR TilE
                               EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division                      ^   f
                                                                                          - 9 2018

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                                                                                 / = r:'■ ■ / lA, VIRGINIA
 UNITED STATES OF AMERICA


         V.
                                                        Criminal No. 1:18-mj-538
 Hoa Wang,and

 Xufeng Ac,

                 Defendants.



                                  AFFIDAVIT IN SUPPORT OF
                    ARREST WARRANT AND CRIMINAL COMPLAINT


        I, John Diffley, being duly sworn, depose and state as follows:

                               Introduction and Agent Background


        1.      I am a Detective with the Fairfax County Police Department("FCPD"), where I

have been employed since 2007. I have been assigned to the Organized Crime and Narcotics

Section for the past three years and I have specifically worked on narcotics trafficking and

money laundering cases. I have received training on the investigation ofcriminal activity,

including fraud, money laundering and structuring. I have participated in hundreds ofcriminal

investigations and I been involved in the arrest of numerous individuals for narcotics trafficking

and other crimes. Since May 2016,1 have been assigned to the High Intensity Drug Trafficking

Area("HIDTA")Task Force in Annandale, Virginia, on a project investigating possible money

laundering, structuring, and other illegal financial activity, specifically violations of Title 18

U.S.C. §§ 1956,1957,and 1960, and 31 U.S.C. §§ 5316,5324, and 5330. I am deputized by the

United States Marshals Service as part ofthis task force in support ofthis endeavor.
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